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 1                              UNITED STATES DISTRICT COURT

 2                           NORTHERN DISTRICT OF CALIFORNIA

 3                                        SAN JOSE DIVISION

 4
     JAN HARRISON; LEE RANALLI;                           Case No. 5:13-cv-01180-BLF
 5   MORGAN TANNER; SPENCER
 6   HATHAWAY; TODD TURLEY; DEBBIE                        [PROPOSED] FINAL JUDGMENT
     HALE; KELI ANNO; JOHN ZULLO;                         AND ORDER APPROVING
 7   CHRISTOPHER KUON-TSEN LEE; JIM                       SETTLEMNT
     BUCKINGHAM; TANDA SAXTON; JOHN
 8   WOZNIAK; JEROME SHERMAN;
     BEVERLY JENKINS; DAVID PETERSEN;
 9   TOM STEVER; BRIAN BAWOL;
10   RANSOME FOOSE; and, STACY
     FRANKLIN.
11
                            Plaintiffs,
12
     v.
13

14   E.I. DUPONT DE NEMOURS AND
     COMPANY; HUNTSMAN
15   INTERNATIONAL, LLC; KRONOS
     WORLDWIDE, INC.; and, MILLENNIUM
16   INORGANIC CHEMICALS, INC.;
17
                            Defendants.
18

19          This matter has come before the Court to determine whether there is any cause why this

20 Court should not finally approve the settlement between Plaintiffs Jan Harrison, Lee Ranalli,

21 Morgan Tanner, Spencer Hathaway, Todd Turley, Debbie Hale, Keli Anno, John Zullo,

22 Christopher Kuon-Tsen Lee, Jim Buckingham, Tanda Saxton, John Wozniak, Jerome Sherman,

23 Beverly Jenkins, David Petersen, Tom Stever, Brian Bawol, Ransome Foose, and Stacy Franklin

24 (collectively, “Plaintiffs”) and Defendants E.I. du Pont de Nemours and Company; Huntsman

25 International LLC; Kronos Worldwide, Inc.; and Cristal USA Inc., formerly known as

26 Millennium Inorganic Chemicals Inc. (together, “Defendants”), set forth in the parties’ Amended

27 Settlement Agreement and Release dated July 3, 2018 (“Agreement”), in the above-captioned

28 litigation. The Court, after carefully considering all papers filed and proceedings held herein and
     [PROPOSED] FINAL JUDGMENT AND
     ORDER APPROVING SETTLEMENT
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 1 otherwise being fully informed, has determined (1) that the Agreement should be approved, and

 2 (2) that there is no just reason for delay of the entry of this Judgment approving the Agreement. 1

 3 Accordingly, the Court directs entry of Judgment which shall constitute a final adjudication of

 4 this case on the merits as to all parties to the Agreement. Good cause appearing therefor, it is:

 5           ORDERED, ADJUDGED, AND DECREED THAT:

 6           1.    Jurisdiction. The Court has subject-matter jurisdiction over the Action pursuant

 7 to 28 U.S.C. §§ 1332 and 1367 and personal jurisdiction over the Parties before it. Additionally,

 8 venue is proper in this District pursuant to 28 U.S.C. § 1391. Without in any way affecting the

 9 finality of this Final Judgment and Order Approving Settlement, this Court hereby retains
10 jurisdiction as to (a) implementation of the Agreement and any distribution to Damages Class

11 Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund; (c)

12 hearing and determining applications by plaintiffs for attorneys’ fees, costs, expenses, and

13 interest; (d) the Action until the Final Judgment has become effective and each and every act

14 agreed to be performed by the parties all have been performed pursuant to the Agreement; (e)

15 hearing and ruling on any matters relating to the plan of allocation of Agreement proceeds; and

16 (f) the parties to the Agreement for the purpose of enforcing and administering the Agreement

17 and the mutual releases contemplated by, or executed in connection with the Agreement.

18           2.    Class Certification for Settlement Purposes Only. The Court finds, for the

19 purposes of this Settlement only, that the prerequisites for a class action under Federal Rules of

20 Civil Procedure 23(a), 23(b)(2), and 23(b)(3) have been satisfied, in that: (a) the Settlement

21 Classes are so numerous that joinder of all members is impracticable; (b) there are issues of law

22 and fact that are typical and common to the Settlement Classes, and that those issues predominate

23 over individual questions; (c) a class action on behalf of the certified Settlement Classes is

24 superior to other available means of adjudicating this dispute; (d) as set forth below, Plaintiffs

25 and Class Counsel are adequate representatives of the Settlement Classes; (e) the questions of law

26 and fact common to the members of the Settlement Classes predominate over any questions

27
     For purposes of this Judgment, except as otherwise set forth herein, the Court adopts and
     1

28 incorporates the definitions contained in the Settlement Agreement, attached hereto as Exhibit 1.
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 1 affecting only individual members of the Settlement Classes; and (f) a class action is superior to

 2 other available methods for the fair and efficient adjudication of the controversy.

 3         3.      Class Definition. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the

 4 Settlement Classes are finally certified and defined as follows:

 5                 “Damages Settlement Class” means all purchasers who either (i)
                   purchased Architectural Paint from a seller in a Damages State
 6                 (defined in Paragraph 8 of the Agreement), or (ii) who reside in a
                   Damages State and purchased Architectural Paint in the United
 7                 States, provided that in either case the Architectural Paint purchased
 8                 was for personal use and not for resale containing, in some form,
                   Titanium Dioxide manufactured by one or more of the Defendants
 9                 or co-conspirators, or any predecessors, parents, subsidiaries, or
                   affiliates thereof from January 1, 2002 until the date notice of this
10                 settlement is first distributed to the Damages Settlement Class, who
                   do not timely opt out pursuant to Paragraphs 12 and 19 of the
11                 Agreement.
12
                   “Injunctive Relief Settlement Class” means all purchasers in the
13                 United States of Architectural Paint for personal use and not for
                   resale containing, in some form, Titanium Dioxide manufactured by
14                 one or more of the Defendants or co-conspirators, or any
                   predecessors, parents, subsidiaries, or affiliates thereof from January
15                 1, 2002 until the date notice of this settlement is first distributed to
                   the Injunctive Relief Settlement Class.
16

17 Home Depot, U.S.A., Inc. (“Home Depot”), the plaintiff in Home Depot, U.S.A., Inc. v. E.I.

18 DuPont de Nemours and Co., et al., No. 5:16-cv-04865 (N.D. Cal.), is validly excluded from the

19 Settlement Classes. Home Depot is not included in or bound by this Judgment and is not entitled

20 to any recovery of the settlement proceeds obtained in connection with the Agreement.

21         4.      Class Counsel and Class Representatives. The Court reaffirms the appointment

22 of Barrett Law Group and Cuneo Gilbert & LaDuca, LLP as Class Counsel. The Court finds that

23 these lawyers are competent and capable of exercising their responsibilities as Class Counsel and

24 finds that Class Counsel has adequately represented the Settlement Class for purposes of entering

25 into and implementing the Agreement. The Court reaffirms the appointment of Jan Harrison, Lee

26 Ranalli, Morgan Tanner, Spencer Hathaway, Todd Turley, Debbie Hale, Keli Anno, John Zullo,

27 Christopher Kuon-Tsen Lee, Jim Buckingham, Tanda Saxton, John Wozniak, Jerome Sherman,

28 Beverly Jenkins, David Petersen, Tom Stever, Brian Bawol, Ransome Foose, and Stacy Franklin
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 1 as Class Representatives, and finds that they have adequately represented the Settlement Class

 2 for the purposes of entering into and implementing the Agreement.

 3          5.      Final Settlement Approval. The terms and provisions of the Agreement have

 4 been entered into in good faith and are hereby fully and finally approved as fair, reasonable, and

 5 adequate as to, and in the best interests of, each of the Parties and the Settlement Class Members.

 6 Accordingly, the Court hereby directs that the Agreement shall be affected in accordance with its

 7 terms and definitions (all of which are adopted and incorporated herein by reference).

 8          6.      Findings Concerning Notice. The Court finds that notice was given to Settlement

 9 Class Members pursuant to the Notice Plan and the Preliminary Approval Order, and that said
10 notice was appropriate under the circumstances and constitutes due and sufficient notice to the

11 Settlement Class Members in full compliance with the requirements of applicable law, including

12 the Due Process Clause of the United States Constitution. The Settlement Class Members

13 received notice of (a) the pendency of the Action; (b) the terms of the proposed Agreement,

14 including the Release; (c) their rights under the proposed Agreement; (e) their right to object to

15 any aspect of the proposed Settlement or exclude themselves from the Damages Settlement Class;

16 (f) their right to appear at the Final Fairness Hearing; (g) Class Counsel’s request for attorneys’

17 fees and expenses and Incentive Awards to the Class Representatives; and (h) the binding effect

18 of this Final Judgment and Order Approving Settlement on all Persons who did not timely exclude

19 themselves from the Settlement Classes. The Court further finds that all of the notices are written

20 in simple terminology, are readily understandable by Settlement Class Members, and are

21 materially consistent with the Federal Judicial Center’s illustrative class action notices.

22          7.      CAFA Notice. The Court finds that notice of the proposed Agreement was

23 provided to the appropriate state and government officials pursuant to 28 U.S.C. § 1715.

24 Furthermore, the Court has given the appropriate state and government officials the requisite

25 ninety (90) day time period to comment or object to the proposed Agreement before entering this

26 Final Judgment and Order Approving Settlement, and no such comments or objections were

27 received.

28
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 1          8.      Fees and Service Awards. The Court has considered the submissions by the

 2 Parties and all other relevant factors, including the result achieved and efforts of Class Counsel

 3 in prosecuting the claims on behalf of the Class. Plaintiffs initiated the litigation, acted to protect

 4 the Class, and assisted their counsel on behalf of the Class. The efforts of Class Counsel have

 5 produced the Settlement Agreement entered into in good faith, and which provides a fair,

 6 reasonable, adequate, and certain result for the Class. Class Counsel is entitled to a reasonable

 7 Fee and Expense Award for their work, which the Court finds to be $750,000.00 and

 8 reimbursement of expenses totaling $86,462.00. Further, the Court approves a $1,500 Incentive

 9 Award for each of the Class Representatives. The Fees and Expense Award and Plaintiffs’
10 Incentive Awards shall be paid pursuant to the time table set forth in the Agreement.

11          9.      Final Judgment. The Court hereby dismisses on the merits and with prejudice the

12 Action, in its entirety, as to Defendants, with each party to bear their own costs and attorneys’

13 fees, except as provided in the Agreement. All persons and entities who are Releasors are hereby

14 barred and enjoined from commencing, prosecuting, or continuing, either directly or indirectly,

15 against the Releasees, in this or any other jurisdiction, any and all claims, causes of action or

16 lawsuits, which they had, have, or in the future may have, arising out of or related to any of the

17 Released Claims as defined in the Agreement. The Releasees are hereby and forever released

18 from all Released Claims as defined in the Agreement.

19          10.     The Court, finding that no reason exists for delay in ordering final judgment

20 pursuant to Federal Rule of Civil Procedure 54(b), hereby directs the clerk to enter this Judgment

21 forthwith.

22

23          Entered this ____         2FWREHU
                          QGday of _________________, 2018.

24

25                                                 Hon. Beth Labson Freeman
26                                                 United States District Judge

27

28
     [PROPOSED] FINAL JUDGMENT AND
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 1 Submitted by:

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                                            CUNEO GILBERT & LADUCA LLP
 3

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